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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

‘Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

JUDGE CARL BARBIER

_ MDL 2179 .

By submitting this document, | am assertin
al., No. 10-2771;.adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh,.et al., in No. 10-2771 ; and/or intervene into, join and otherwise adopt the Master Complaint:
[Rec.. Doc. 879] for private economic.losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179): and/or intervene
into, join and otherwise. adopt.the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md.2179), °°

| First Name | Middle Namie/Maiden

Last Na mB ma : - " :
Doran John — O. Zl

Phone Number KD) ¢- G / 24 _ Sy, U 4 / . - _—

le Weble Buc "Arb LA 75733.

Employer Name-_ { Business Name
‘Job Title / Description = ~ ” Type of Business
Address — | Address
City / State / Zip oe — . City / State / Zip
Last 4 digits of your Social Secutity| Namber | Last 4 digits of your Tax [D Number

Attorney Name . Firm Name

Sidney D. Torres, Roberta L. Burns, David C. Jarrell

Law Offices of Sidney D. Torres, I, APLC
Address ve City / State / Zip
8301 W. Judge Perez Dr.,: Ste 303 Chalmette, LA 70032
Phone Number E-Mail Address

(504) 271-8421

Claim filed with BP? YES Et NO Ty
if yes, BP Claim No.: a , : ‘ If yes, Claimant Identification No.:

dcej@torres-law.com
. Claim Filed with GCCF?:

YES [] NO [J

Claim Type (Piease check alll that apply):

oO] amage or destruction to real or personal property
CJ Eamings/Profit Loss
Personal Injury/Death

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natura! Resources
Removal and/or clean-up costs

‘Other:

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C1.

‘ this form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.

10-8888. While this Direct Filing Stiort Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
- 2179}, the filing of this form in'C,A. No. 40-8888 shall be deemed to be simultaneously filed.in-C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being

notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall also serve in, feu of the requirement of a Plaintiff to file a Plaintiff Profile Form,

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Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location: of fishing grounds at issue.

2. For personal injury: claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each. ,

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3. For post-explosion claims elated to clean-up or removal; include your role in the Clean-up activities, the name of your
employer, and where you were working. oe .

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Please check the box(es) below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle Bi)

0 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

Cj 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

Oj 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing ‘business who eam their living through the use of the Gulf of Mexico.

0 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

1 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
0) 6. Plant and dock worker, inicluding commercial seafood‘plant worker, longshoreman, or ferry operator.

07 Owner, lessor; or lessee of real, property alleged to: be damaged, harmed or impacted, physically or economically, including
‘lessees of oyster beds. :

EJ 8. Hotel owner and, operator, vacation rental owner and agent, oF all those who earn their living from the tourism industry.
Og, Bank, financial institution, or.retail business that suffered losses as a result of the spill.
[] 10. Person who utilizes natural resources for subsistence.

O14. Other:

Post-Explosion Personal Inju .Medical Monitoring, and Propert Damage Related to Cleanu

[J 1. - Boat captain-or ctew involved in the Vessels of Opportunity program.
“a 2. Worker involved in decontaminating vessels that came into contact with oil-and/or chemical dispersants.

3. Vessel.captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals, :
odors arid emissions during post-explosion clean-up activities.

Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones,

Both BP and.the Gulf, Coast Claims Facility ("GCCF”) are-hereby authorized. to, release to the Defendants in MDL
2179 ail information: and docurnénts submitted:by above-named Plaintiff and information regarding the status of any
the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality. (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
he Plaintiff isvattorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant or Morey Sayare 0

John. Doran, TL

Print Name .

4-19-90].

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

